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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF GEORGIA

 

MACON DIVISION
UNITED STATES OF AMERICA

v. : CRIMINAL NO. 5:19-CR- SLp
DEON M. MOORE : VIOLATIONS: 18 U.S.C. § 2251(a)

: 18 U.S.C. § 2
18 U.S.C. § 2253
THE GRAND JURY CHARGES:
COUNT ONE

[Sexual Exploitation of a Child — 18 U.S.C. §§ 2251(a) and (e)]

On or about July 31, 2018, in the Macon Division of the Middle District of Georgia and
elsewhere within the jurisdiction of this court, defendant,

DEON M. MOORE,

persuaded, induced, enticed, and coerced a minor, Jane Doe 1, to engage in sexually explicit
conduct for the purpose of producing a visual depiction of such conduct, and attempted to do so,
knowing and having reason to know that such visual depiction would be transmitted using a
facility of interstate commerce and in and affecting interstate commerce; and the visual depiction
was actually transmitted using a facility of interstate commerce and in and affecting interstate

commerce; all in violation of Title 18, United States Code, Sections 225 1(a) and (e).
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COUNT TWO
[Sexual Exploitation of a Child — 18 U.S.C. §§ 2251(a) and (e)]
On or about May 19, 2018, in the Macon Division of the Middle District of Georgia and
elsewhere within the jurisdiction of this court, defendant,

DEON M. MOORE,

persuaded, induced, enticed, and coerced a minor, Jane Doe 2, to engage in sexually explicit
conduct for the purpose of producing a visual depiction of such conduct, and attempted to do so,
knowing and having reason to know that such visual depiction would be transmitted using a
facility of interstate commerce and in and affecting interstate commerce; and the visual depiction
was actually transmitted using a facility of interstate commerce and in and affecting interstate

commerce; all in violation of Title 18, United States Code, Sections 2251(a) and (e).

COUNT THREE
[Sexual Exploitation of a Child — 18 U.S.C. §§ 2251(a) and (e)]
On or about September 28, 2017, in the Macon Division of the Middle District of

Georgia and elsewhere within the jurisdiction of this court, defendant,

DEON M. MOORE,

persuaded, induced, enticed, and coerced a minor, Jane Doe 3, to engage in sexually explicit
conduct for the purpose of producing a visual depiction of such conduct, and attempted to do so,
knowing and having reason to know that such visual depiction would be transmitted using a
facility of interstate commerce and in and affecting interstate commerce; and the visual depiction
was actually transmitted using a facility of interstate commerce and in and affecting interstate

commerce; all in violation of Title 18, United States Code, Sections 2251(a) and (e).
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FORFEITURE NOTICE

1. The allegations contained in Counts One through Three of this Indictment are
hereby re-alleged and incorporated by reference into this Notice for the purpose of alleging
forfeitures to the United States of America, pursuant to the provisions of Title 18, United States
Code, Section 2253.

2. Upon conviction of the offense(s) in violation of Title 18, United States Code,
Sections 2251(a) and (e) set forth in Counts One, Two, and/or Three of this Indictment, the
defendant,

DEON M. MOORE,
shall forfeit to the United States of America pursuant to Title 18, United States Code, Section
2253:
(a) Any visual depiction described in Title 18, United States Code, Sections
2251, 2251A, 2252, 2252A, 2252B, or 2260, or any book, magazine,
periodical, film, videotape, or other matter which contains any such visual
depiction, which was produced, transported, mailed, shipped or received
in violation of Title 18, United States Code, Chapter 110;
(b) Any property, real or personal, constituting or traceable to gross profits or
other proceeds obtained from the offense(s); and
(c) Any property, real or personal, used or intended to be used to commit or to
promote the commission of such offense(s) or any property traceable to
such property.
3. If, as a result of any act or omission of the defendant, any property subject to

forfeiture:

(a) cannot be located upon the exercise of due diligence;
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(b)
(c)
(d)
(e)

has been transferred, sold to or deposited with, a third person;

has been placed beyond the jurisdiction of the Court;

has been substantially diminished in value; or

has been commingled with other property which cannot be subdivided

without difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant to

Title 21, United States Code, Section 853(p), as incorporated by Title 18, United States Code,

Section 2253(b).

All pursuant to 18 U.S.C. § 2253.

Presented by:

A TRUE BILL.

 

s/FOREPERSON OF THE GRAND JURY

CHARLES E. PEELER
UNITED STATES ATTORNEY

PAUL C. McCOMMON III
ASSISTANT UNITED STATES ATTORNEY

Filed in open court this fO day of September, 2019.

CQ es

Deputy Clerk
